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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 OWNERS INSURANCE COMPANY,

                        Plaintiff,

        v.                                               Case No. 1:23-cv-112

 TOVAR SNOW PROFESSIONALS, INC.
 and ERIE INSURANCE,

                        Defendants.


                      COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Owners Insurance Company (“Owners”), through its undersigned attorneys,

hereby brings its Complaint for Declaratory Judgment against Tovar Snow Professionals, Inc.

(“Tovar”) and Erie Insurance (“Erie”) (collectively “Defendants”), and in further support thereof,

alleges as follows:

                                       NATURE OF THE CASE

       1.      This is a Declaratory Judgment action to determine the rights and obligations under

a commercial general liability policy, arising out of a slip and fall event that occurred on January

24, 2019, in which Spencer Garcia (“Garcia”) was injured after he slipped and fell on a patch of

ice.

       2.      Owners seeks a declaration that Owners’ rights and obligations have been satisfied

and Owners has rightfully and fully discharged its obligation to tender Tovar’s defense.
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                                              THE PARTIES

        3.     Owners is a corporation organized and existing under the laws of the State of Ohio,

with its principal place of business located in Lansing, Michigan. Therefore, Owners is a citizen

of the States of Ohio and Michigan.

        4.     Owners issued Landscapes by Gary Weiss a commercial general liability insurance

policy (“Policy”).

        5.     Tovar is a corporation organized and existing under the laws of Illinois, with its

principal place of business located in Dundee, Illinois. Therefore, Tovar is a citizen of the State of

Illinois.

        6.     Tovar is the named insured under a policy issued by Erie Insurance.

        7.     Erie Insurance is a corporation organized and existing under the laws of the State

of Pennsylvania, with its principal place of business located in Erie, Pennsylvania. Therefore, Erie

Insurance is a citizen of the State of Pennsylvania.

        8.     Erie is the commercial general liability carrier for Tovar.

                                     JURISDICTION AND VENUE

        9.     This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 because there is complete diversity of citizenship between the parties and the amount in

controversy exceeds $75,000 exclusive of interest and costs.

        10.    Venue is proper under 28 U.S.C. § 1391(b)(2), as a substantial part of the events or

omissions giving rise to this lawsuit occurred in the Northern District of Illinois, including where

the slip and fall occurred in Cary, Lake County, Illinois.




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       11.     An actual justiciable controversy exists between Owners and Defendants, and

pursuant to Fed. R. Civ. P. 57 and 28 U.S.C. § 2201, this Court has the authority to declare the

rights and liabilities of the parties, and to grant such relief as it deems necessary and proper.

                                       FACTUAL BACKGROUND

A.     The Slip and Fall Accident

       12.     Landscapes by Gary Weiss and Tovar entered into a service agreement

(“Agreement”) for snow and ice removal for the property located at 3909 Three Oaks Road, Cary,

Illinois (“Property”).

       13.     Under the terms of the Agreement, Landscapes by Gary Weiss was responsible for

clearing snow and ice from the Property’s parking lot and Tovar was responsible for clearing snow

and ice from the Property’s sidewalk.

       14.     Under the terms of the Agreement, Owners also agreed to accept the tender of

defense of Tovar for any claim or suit with respect to liability arising out of Landscape by Gary

Weiss’ work for Tovar Snow Professionals.

       15.     Landscapes by Gary Weiss worked overnight on January 23, 2019, through January

24, 2019, to clear the parking lot of snow and ice following a winter weather event.

       16.     On January 24, 2019, Garcia parked his car at his former place of employment,

which was located at the Property. After exiting his car, Garcia walked through the parking lot

toward the building entrance.

       17.     Garcia intended to use the sidewalk leading from the parking lot to the building in

order to enter the building, just as he had numerous times before.

       18.     As soon as Garcia stepped onto the sidewalk, however, he slipped on ice and fell to

the ground. Garcia landed on his rear end, back, and head.



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         19.     Garcia informed his supervisor about the incident and his supervisor made a safety

report documenting the accident.

         20.     Garcia alleges that he suffered back injuries, including a disc herniation, as a result

of the fall. Garcia also claims he lost wages as a result of the fall.

B.       The Underlying lawsuit and the Policy

         21.     Garcia filed suit against Landscapes by Gary Weiss and Tovar following the slip

and fall accident.

         22.     Pursuant to the Agreement, Tovar tendered its defense to Landscapes by Gary

Weiss.

         23.     On November 16, 2021, Owners notified Tovar that it determined Tovar was an

additional insured under the terms of the Policy and accepted the tender of defense of Tovar in the

Garcia matter.

         24.     Owners, however, accepted the tender of defense of Tovar under a reservation of

rights and clarified Owners’ indemnity obligations only extended to a potential claim arising with

respect to liability arising out of Landscapes by Gary Weiss’ work for Tovar.

         25.     The Policy, as modified by the Endorsement, provides as follows:

SECTION I – COVERAGES is amended.

         A. COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 1.

         1.      Insuring Agreement

                 a. We will pay those sums that the insured becomes legally obligated to pay as
                 damages because of “bodily injury” or “property damage” to which this insurance
                 applies. We will have the right and duty to defend the insured against any “suit”
                 seeking those damages. We may at our discretion investigate any claim or
                 “occurrence” and settle and claim or “suit” that may result. However,

                 (1)    The amount we will pay for damages is limited as described in Section III
                 – Limits of Insurance; and

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               (2)     Our right and duty to defend end when we have used up the applicable limit
               of insurance . . .

               No other obligation or liability to pay sums or perform acts or services is covered
               unless explicitly provided for under Supplementary Payments.
               If [Owners] initially defend an insured or pay for an insured’s defense but later
               determine that the claim(s) is (are) not covered under this insurance, [Owners] will
               have the right to reimbursement for the defense costs we have incurred.
               The right to reimbursement for the defense costs under this provision will apply to
               defense costs we have incurred after we notify you in writing that there may not be
               coverage, and that we are reserving our rights to terminate the defense and seek
               reimbursement for defense costs.

       26.     Therefore, under the Policy, if Owners initially defended an insured or paid for an

insured’s defense, but later determined that the claim was not covered by the Policy, Owners

reserved the right to terminate the defense and seek reimbursement for defense costs.

       27.     During discovery, Tovar’s employees testified that clearing the sidewalks of snow

and ice was solely Tovar’s responsibility.

       28.     Garcia also testified that he fell when he stepped on the sidewalk and that the ice

on the sidewalk was the only thing that caused him to fall.

       29.     Therefore, Owners determined that Garcia’s injuries did not arise out of Landscapes

by Gary Weiss’ work for Tovar and informed Erie that it no longer accepted the tender for Tovar’s

defense.

       30.     On or about September 8, 2022, Garcia and Landscapes by Gary Weiss settled all

claims against Landscapes by Gary Weiss and were granted a good faith finding that the settlement

was reached in good faith.

       31.     The suit between Garcia and Tovar remains unresolved.




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                               COUNT I – DECLARATORY JUDGMENT

        32.     The foregoing paragraphs of this Complaint are incorporated in this Paragraph 32

as if specifically and fully set forth.

        33.     The Policy, at most, covers only indemnity obligations with respect to liability

arising out of Landscapes by Gary Weiss’ work for Tovar.

        34.     The Policy also allows Owners to reserve its right to terminate Tovar’s defense if

it determines the claim is not covered by the Policy.

        35.     Based on the uncontroverted testimony, Garcia’s injuries did not arise out of

Landscapes by Gary Weiss’ work for Tovar. Further, Garcia’s claims against Landscapes by Gary

Weiss have already been resolved through a good faith settlement.

        36.     Owners denies any liability for Tovar’s actions and Owners is in danger of loss

unless the Policy and Agreement are properly construed and the rights of all parties hereto

determined in this action.

        37.     Therefore, Owners seeks a declaration that the Policy does not require Owners to

tender defense of Tovar when Tovar was solely responsible for Garcia’s injuries and all claims

against Landscapes by Gary Weiss have been resolved.

        WHEREFORE, Owners respectfully requests that this Court enter judgment as follows:

                (1)     Declaring that Owners has no obligation to defend Tovar and that Owners

        rightfully denied tender of Tovar’s defense;

                (2)     Declare that Owners has fully satisfied its obligations under the Policy; and

                (3)     Award Owners any such other relief that the Court deems just and proper.




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Dated this 9th day of January, 2023

                                             Respectfully submitted,

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